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                                    UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF MARYLAND


 LESTER LEE,

           PLAINTIFF

 v.
                                                              Case No. 8:24-cv-01205-TJS
 BROOKSIDE PARK CONDOMINIUM,
 INC., METROPOLIS (aka MCM, INC.),
 RAMMY AZOULAY AND LAMONT
 SAVOY

           DEFENDANTS


      DEFENDANTS BROOKSIDE PARK CONDOMINIUM, INC., METROPOLIS (aka
      MCM, INC.), AND RAMMY AZOULAY’S MOTION TO COMPEL ANSWERS TO
                               DISCOVERY

         Defendants BROOKSIDE PARK CONDOMINIUM, INC., METROPOLIS (aka

MCM, INC.), AND RAMMY AZOULAY (hereinafter “BPC Defendants” or “Defendant”), by

and through undersigned counsel, hereby respectfully moves this Court pursuant to Local Rule

104.8 to compel Plaintiff to answer discovery. As grounds for the Motion, Defendants state as

follows:

         1.        Interrogatories and Document Requests were sent to the Plaintiff on August 14,

2024.

         2.        No responses have been forthcoming.

         3.        An email was sent on February 11th regarding late answers to interrogatories.

Pursuant to Local Rule 104.8, the parties had a conversation on February 12th, 2025. Defendant

had served the draft Motion to Compel and discovery on Plaintiff.




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        4.       Plaintiff’s counsel promised answers to discovery by Wednesday February 19,

2025. Plaintiff failed to file the answers yesterday.

        5.       Per the Court’s Scheduling Order, discovery closes February 18, 2025 and

Defendant has been prejudiced without the Answers to Interrogatories and document requests.

        6.       Accordingly, Defendants request that Plaintiff be compelled to answer

Interrogatories and Document Requests.

                    MEMORANDUM OF GROUNDS AND AUTHORITIES

        Local Rule 104.8



 Respectfully submitted,



 /s/Anthony D. Dwyer
 Anthony D. Dwyer (415575)
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 Inc.), and Rammy Azoulay




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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 20th day of February, 2025, copies of the foregoing

DEFENDANTS BROOKSIDE PARK CONDOMINIUM, INC., METROPOLIS (aka MCM,

INC.), AND RAMMY AZOULAY’S MOTION TO COMPEL DISCOVERY ANSWERS

were served by first-class mail, postage prepaid to:


                                Richard Bruce Rosenthal, Esq.
                                545 E. Jericho Turnpike
                                Huntington Station, NY 11746
                                631.629.8111 (Phone
                                richard@thedoglawyer.com
                                Pro Hac Vice




                                                       /s/Anthony D. Dwyer
                                                       Anthony D. Dwyer (415575)




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